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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


   PUES FAMILY TRUST IRA, MICHAEL
   PUES EXECUTOR

   v.

   PARNAS HOLDINGS, INC, LEV PARNAS                 Case No. 19-MC-80024 DMM

          Debtor.
                                      /

        NOTICE OF UNAVAILABILITY FILED ON BEHALF OF COUNSEL FOR
                          JUDGMENT CREDITOR

          PLEASE TAKE NOTICE that Judgment Creditor’s undersigned counsel will be

   absent from the jurisdiction from July 31, 2019 through August 11, 2019, and will

   therefore be unavailable. The clerk, court, and counsel of record are kindly requested not

   to schedule any hearing, examination, deposition, request or command for appearance

   due to said counsel’s unavailability.

          DATED on April 15, 2019

                               .             Respectfully submitted,

                                             ANDRE LAW FIRM P.A.
                                             Counsel for Plaintiff/Judgment Creditor
                                             18851 N.E. 29th Ave Suite 724
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                                             Fax 786 513 8408

                                           By: /s/ Tony André
                                               Tony André, Esq.
                                               Florida Bar No.: 0040587
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                                                                       Case No. 19-MC-80024 DMM



                                   CERTIFICATE OF SERVICE

            I certify that on this 15th day of April 2019, I filed the foregoing with the Clerk of the
   Court and have served copies of this pleading via first class mail on the following parties, I also
   certify that I am admitted to the United States District Court for the Southern District of Florida:

          Chris Draper, Esq.
          Greenspoon Marder
          525 Okeechobee boulevard Suite 900
          West Palm Beach FL 33401
           Attorneys for Defendants



                                                                /s/ Tony Andre
                                                 Tony Andre




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